                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR06-1048-LRR
 vs.
                                                                 ORDER
 JESSE GARRETT KRAMER,
               Defendant.

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       This matter comes before the court on its own motion.1 In relevant part, 18 U.S.C.
§ 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).


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        At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction
under 18 U.S.C. § 3582(c)(2).

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      On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.              See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The
Sentencing Commission also promulgated amendments to USSG §1B1.10, which sets forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
             In a case in which a defendant is serving a term of
             imprisonment, and the guideline range applicable to that
             defendant has subsequently been lowered as a result of an
             amendment to the Guidelines Manual listed in subsection (c)
             below, the court may reduce the defendant’s term of
             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c).
      Nevertheless, the court declines to rely on Amendment 706 to reduce the
defendant’s sentence. See generally United States v. Wyatt, 115 F.3d 606, 608-09 (8th
Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10).
During the defendant’s sentencing, the court took into consideration proposed Amendment
706, sentenced the defendant to 70 months imprisonment, and noted that it would impose




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the same sentence if Amendment 706 had been in effect on June 7, 2007.2 Accordingly,
the defendant is not entitled to a reduction of his 70 month term of imprisonment.
Accordingly, the court concludes that a reduction under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10 is not warranted.
      The Clerk of Court is directed to send a copy of this order to the United States, the
defendant and the Federal Public Defender.


      IT IS SO ORDERED.
      DATED this 3rd day of June, 2008.




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        The court imposed a sentence that is within the overlap of the amended range.
Based on a total adjusted offense level of 25 and a criminal history category of III, the
court previously determined the defendant’s guideline range to be from 70 to 87 months
imprisonment. The amended guideline range is from 57 to 71 months imprisonment.

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